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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                       :
UNITED STATES OF AMERICA                                               :
                                                                       :
                  -v-                                                  :      19-CR-906 (JMF)
                                                                       :
JOHN GONZALEZ, et al,                                                  :          ORDER
                                                                       :
                                    Defendants.                        :
                                                                       :
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JESSE M. FURMAN, United States District Judge:

        Given the ongoing public health situation and the limited number of courtrooms that could
safely be used for jury trials in the coming months, the judges of this District adopted a plan to
determine which criminal cases, if any, should be tried in the coming months and when. Under the
plan, the Court has until November 15, 2020, to submit a request with respect to any case that it
wishes to try in the first quarter of 2021. (Even then, there is no guarantee under the plan that the
Court would get its choice of date(s). And, of course, it is unclear whether any jury trials will be
feasible in the first quarter of 2021 given the inherent uncertainty of the public health situation.)

       No later than October 22, 2020, the parties shall file a joint letter indicating their views on
(1) whether this case should or must be tried before March 31, 2021, or whether trial should be
adjourned to later; (2) whether the Court should hold the conference currently scheduled for
November 5, 2020, either to discuss the trial date or otherwise; and (3) if there is no need for such a
conference, whether time should be excluded under the Speedy Trial Act until a later date.

        If any party believes that the proceeding should be held, counsel should explain why and
indicate their views on (1) whether the proceeding should be held in person or remotely (mindful of
the complications involved in holding a multi-defendant conference in either manner); and
(2) whether, if permitted Court under the Constitution, the Federal Rules, and the CARES Act, each
Defendant consents to a remote proceeding and/or to waiving his appearance altogether. Counsel
should also identify the facility or facilities in which the Defendants are held. Counsel is advised
that, for the foreseeable future, some facilities (including the Metropolitan Correctional Center
and the Metropolitan Detention Center) may require that any inmate appearing in court be
quarantined for 14 days upon returning from their appearance.

       After reviewing the parties’ joint letter, the Court will issue an order indicating whether it
intends to hold the November 15th conference and, if so, how and addressing any other relevant
deadlines and information.

        SO ORDERED.

Dated: October 19, 2020                                    __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
